Case 2:04-cr-20223-.]PI\/| Document 110 Filed 06/07/05 Page 1 of 2 Page|D 194

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THE UNITED sTATES DISTRICT CoURT men av__>;é(:__*_o.a
FoR THE WESTERN DISTRICT oF TENNESSEE </
WESTERN DIVISION 05 JUt-€ -`I PH 3= h 9

 

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STATES °F AME*“CA»

P\aimiff,

vs. No. 04-20223-B
MARILYN WATTS,

Defendant.

 

ORDER GRANTING MOTION FOR EXTENSION OF TIME WITHIN
WHICH TO FILE PRETRIAL MOTIONS

 

THIS CAUSE came onto be heard upon motion of the Defendant to extend time in Which to file
pre-trial motions. For good cause shown and Without objection by the United States, the motion
is GRANTED. The Defendant shall have until June 30, 2005 to file pre-trial motions

IT IS SO ORDERED.

 

J. D iel Breen \
ED STATES DISTRICT JUDGE

   

UNITsED`ATES DISTRIC COURT -WESTER D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 110 in
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Honorable .l. Breen
US DISTRICT COURT

